LJNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                           1t3 cv 3031
PAULET MINZIE, ERIC DIXON, ANd JYEVION DIXON, AN                      NOTICE OF
INFANT BY PARENT AND GUARDIAN EzuC DIXON,

                                              Plaintiff,              CV
                                                                                                          /
         - agarnst -                                                  ECF
                                                                                      ;'h

THE CITY OF NEW YORK, P.O. RICHARD HASTE                              Bronx
(NypD) SHIELD #2087s, SERGEANT SCOTT MORRIS                           Index No.        lr3E
G\rYPD) SHIELD #953, AND NYPD OFFICERS JOHN DOE
#l-r0
                                              Defendants.
                                                                  X


         Defendant, THE CITY OF NEW YORK, ("the CITY'), by its attorney, MICHAEL A.

CARDOZO, Corporation Counsel           of the City of New York, upon information            and belief,

respectively petitions this Court, pursuant to 28 U.S.C. $$ 133I,I367(a), 1441(a), and 1446(b)

as   follows:

          1.     On or about April 9, 2013, Plaintiffs PAULET MINZIE, ERIC DIXON,                  and

JYEVION DIXON, AN INFANT BY PARENT AND GUARDIAN EzuC DIXON ("Plaintiffs")

commenced the above-captioned civil action which is currently pending in the Supreme Court           of

the State of New York, Bronx County, under Index No. 21249113F,, and of which a trial has not

yet been had therein.

         2.      On    April I1,2013, the CITY received service of a copy of Plaintiffs' Summons

and Complaint, a copy of which is arrnexed hereto as Exhibit A.

          3.     On or about April 12,2013, Plaintiffs filed a Request for Judicial Intervention and

a Request fo¡ a Preliminary Conference, copies of which are annexed hereto as Exhibit B and

Exhibit C, respectively.
       4.        As of the filing date of this Notice of Removal, a Preliminary Conference has not

yet been held.

       5.        The within action seeks monetary damages for alleged injuries suffered by

Plaintiffs as a result of the defendants' policies, procedures, customs and practices which were

allegedly in reckless and deliberate indifference to the Plaintiffs' Constitutional rights and laws

of the United States. See tffl 85-89 of Exhibit A.

       6.        More specifically, the Complaint alleges that on the 2nd day of February, 2012, the

defendant police officers, acting in concert and under color of state law, forcibly entered into the

Plaintiffs' homes without a search warrant, and undertook a course of conduct which deprived

the Plaintiffs of their civil rights secured by the Fourth and Fourteenth Amendments to the

Constitution of the United States and 42 U.S.C. $ 1983. See J[tf 8, 1 l-40, 46-50, 57-60, 62-66 of

Exhibit A.

       7.        Accordingly, this is a civil action over which the District Courts of the United

States have original jurisdiction pursuant to 28 U.S.C. $$   133I,1441.

       8.        Furthermore, since the state law claims arise out        of a common nucleus of
operative facts, namely, the alleged police misconduct, both state and federal claims form part of

the same case or controversy under Article    III of the United States Constitution,   and this Court's

exercise of supplemental jurisdiction is thereby appropriate under 28 U.S.C. $ 1367(a).

       9.        This Notice of Removal is filed within thirty (30) days of receipt by the CITY of

the Plaintiff s Complaint pursuant to 28 U.S.C. $ 1446(b).

        10.      Attached to this Notice, and by reference made a part hereof, are true and correct

copies of all known pleadings filed herein.




                                                  2
        I   1.     By filing this Notice of Removal, the CITY does not waive any defense which

may be available to it, specifically including, but not limited to, its right to contest in personam

jurisdiction, improper service of process and the absence of venue in this Court or the Court from

which this action has been removed.

        12.        On April 30, 2013, co-defendants P.O. RICHARD HASTE (Ì.{YPD) SHIELD

#20875 and SERGEANT SCOTT MORzuS (NYPD) SHIELD #953 both provided written

consents to the removal of this action to the United States District Court for the Southern District

of New York, thus satisfuing the requirement of unanimity under 28 U.S.C. $1446. Copies of

the co-defendants consents to this removal are arìnexed hereto as Exhibit D and Exhibit E,

respectively.

        WHEREFORE, the CITY respectfully requests that the instant action now pending

before Supreme Court of the State of New York, Bronx County, be removed to the United States

District Court of the Southern District of New York, and for such other and ftrther relief as this

Court deems proper and just.




Dated: New York, New York
        I|l4:ay   6,2013

                                               MICHAEL A. CARDOZO,
                                               Corporation Counsel of the City of New York
                                               Attorney for City of New York
                                               1           Street
                                               New        NY   10007
                                               (2r2) 3s     40
                                                                 gov

                                          By

                                               EzuC     WEST (EW3000)
                                               Special Assistant Corporation Counsel



                                                   a
                                                   J
TO   LAW OFFICES OF JEFFREY CHABROWE,    P.C
     Attorney for the Plaintiff
     261 Madison Avenue, 12ü Floor
     New York, New York 10016
     phone: (917) 529-3921
     E-mail: jchabrowe@gmail.com




                                     4
SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF ftypein county]
PAULET MlNZlE, ERIC DIXON, and JYEVION DIXON, AN               Index    No.a       I7qq 7tl 3É-
INFANT BY PARENT AND GUARDIAN ERIC DIXON,

                                      Plain tiff(s),

                    -agairust-
                                                               þarrmrnø
THE CITY OF NEW YORK, P.O. RICHARD HASTE
(NypD) SHTELD #20875, SERGEANT SCOTT MORRIS
                                                                                                           4ß\L-onqß
(NYPD) SHIELD #953, AND NYPD OFFICERS JOHN DOE
#1-10                                                          Date Index No. Purchased:                   AprirB,2013
                                   Defendant(s).

        To the above named Defendant(s)
         Clty of New York              P.O. Richard Haste, Shield #20875    Sergeant Scott Monis, Shield #953
         100 Church Street             C/O One Police Plaza, 14th FL        C/O One Police Plaza, 14th FL
          NewYork, NY 10007            New York, NY 10038                    New York, NY 10038

        You are hereby summoned to answer the complaint in this action and to serve
a copy of your answer, or, if the complaint is not served with this summons' to serve
   ooti." of appearance, on the Plaintiffs attorney within 20 days after the service of
"this summons, exclusive of the day of service (or within 30 days after the service is
 complete if this summons is not personalb d.elivered to you within the State of New
 yorË); and in case of your failure to appear or answer, judgment will be taken against
 you by default for the relief demanded in the complaint-

      The basis of venue is cPLR 504(3)
WhiCh iS applicable as City is Defndant and injuries complained   of occured in County ot Bronx.



Dated:     New YorK New York

           April 8,2013
                                               Law



                                               Andrew L. Hoffman, Of Counsel
                                             Attorneys for Plaintiff
                                               261 Madison Avenue, 1Ah FL
                                               NewYork, NY 10016
                                               (212) 73G3s35
NEW YORK STATE SUPREME COURT
COUNTY OF BRONX

PAULET MINZIE, ERIC DIXON, ANd JYEVION DIXON,                               IndexNo.:   7>41          tsL
AN INFANT BY HIS NATURAL PARENT AND
GUARDTAN, ERIC DIXON,

                                     Plaintiffs,                            COMPLAINT


                      -against-                                             JURY TRIAL
                                                                            DEMANDED
THE CITY OF NEW YORK, POLICE OFFICER
RICHARD HASTE (NfrPD) SHIELD 20875, SERGEANT
scoTT MORRIS (NYPD) SHIELD #953,4ND NYPD
pol.rcE OFFICERS JOHN DOE #l-10 (THE NAME JOHN
DOE BEING FTCTITIOUS, AS THE TRUE NAME(S) N/
ARE PRESENTLY UNKNOWN),

                                      Defendants.



       The Ptaintiffs, complaining by their attorney(s) at the LAW OFFICE OF JEFFREY

CI{ABROWE, P.C., respectfully show to this Court and allege:

                                         TTIE PARTIES

1.     At all times relevant herein, Ptaintifß PAULET MINZIE, EzuC DIXON,           and   JYEVION

DIXON occupied apartments     at the three-family residence   located atl49 E- 229ú Sffeet, Bronx

County, New Yorþ along with their neighbor, the late RAMARLEY GRAHAM.

Z-     Paulet Minzie, the owner and landlady, occupied the third floor apartment, while

Ptaintifß Eric and Jyevion Dixon lived in the first floor apartment; Ramarley Graham resided in

the second floor apartment.

3.     Upon information and belie! at all times hereinafter mentioned, the Defendant, CITY OF

NEW YORK was and still is a municipal corporation duly organized and existing under and by

virtue of the laws of the State of New York, and that at all times relevant all Defendant off,rcers

                                                    T
were acting for, upon, and in furtherance of the business of their employer and within the scope

of their employment.

4.     Upon information and belief, at all times hereinafter mentioned, the Defendant, CITY OF

NEW YORK, its agents, servants, and employees, operated, maintained and controlled the New

York City Police Department, including all the police officers thereof.

5.     Upon information and belief, at all times hereinafter mentioned, Defendant Police Officer

zuCHARD HASTE, Sergeant SCOTT MORzuS and POLICE OFFICER(S) DOE #1-10 were

employed by the Defendant CITY OF NEW YORK, as members of its police department.

6.     Upon information a¡rd belief, at all times hereinafter mentioned, all Defendant Police

Officers, be they known or unknowrL worked out of the Street Narcotics Enforcement Unit of the

47th precinct Bronx County, in the City of New York.

7.     The New York City Police Department is a local govemmental agency, duly formed and

operating under and by virtue of the Laws and Constitution of the State ofNew York and the

police chief of the New York   Cþ   Police Department is responsible for the policies, practices,

and customs of the New York City Police Department as well as the hiring, screening, training,

supervising, controlling and disciplining of its police officers and civilian employees, and is the

f,rnal decision maker for that agency.

8.     This action arises under the United States Constitution, particularly under provisions   of

the Fourth and Fourteenth Amendments of the Constitution of the United States, and under

federal law, particularly the Civil Rights Act, Title 42 of the United States Code, Section 1983,

the rights guaranteed by the Constitution, and the laws of the State of New York.




                                                 2
g-        Upon information and belief, all of the complained of actions listed herein occurred at

740 East229ú Street, in Bronx County; as such, pursuant to CPLR $504(3), Bronx County
                                                                                      is an


appropriate venue for this action.

10.       Individual Defendants in this action are being sued in both their individual and offrcial

capacities.




                                      STATEMENT OF FACTS

I   1.    On February 2,2012 at about 3:00PM, Ptaintifß EzuC DD(ON and JYEVION
                                                                               DIXON'

were relaxing in their first floor apartmen! located at I49 E. 229ú Street' Bronx,
                                                                                   NY 1 0466;

ptaintiff pAULET MINZIE, home-owner and landlord, was taking a shower in her 3'd floor

apartrnent.

    12.    At about the same time,   18 year   old Ramarley Graham ('Ramarley'') entered the

premises and ascended the stairs toward his second floor apartmen! the
                                                                       front door locking

behind him.

                                                                             that numerous police
    13.    Approximatety 15 seconds later, existing surveillance video shows
                                                                         and forcibly attempted to gain
    officers, with guns drawn, ran up to the front door of the premises,

                                                                      Defendant Police Offrcer
    entrance. Among said officers were, upon info,rmation and belief,

    RICIIARD [{ASTE, Defendant       Sergeant SCOTT MORRIS'


    14.    The offrcers were not in possession of a search or an a¡rest warrant'

    15.     Ramarley Graham had not committed any crime'

            Nevertheless, the off,rcers, unable to gain access through the front
                                                                                 door' surrounded the
    16.
    house, and several officers went to a back entrance to seek entry-



                                                        3
17.    [n response, 8 year old Jyevion Dixon ('Jyevion"), opened the back door of his first floor

apartment-

18.    One of the Defendant officers then pointed a gun directly in Jyevion's face, and ordered

the child out of his home.

19.    Upon hearing this commotion, Jyevion's father, PlaintiffEric Dixon, came to the door,

and the same officer raised his gun directly at him, demanding entry.

20-    Police then pushed past IMr. Dixon, and without permission or authority, entered the

premises through his aPartment.

21.    Once inside the home, one of the offrcers ran to the front door and let several other

offrcers in, while others poured through the back and raced up the stairs toward the second-floor

22.     Defendants Haste and other NYPD Officers then broke through the front door     of

Ramarley Graham's second floor apartment and entered with gtrns raised, ready to fire-

23.     Ramarley went into the bathroom-

        Defendant Haste followed, and immediately fired a shot, striking the young man in
                                                                                          the
 24-
chest, and dropping him to the ground.

 25.    RamarleY was unarmed-

 26.    Ramarley died as a result of his injuries

 27-    Upon hearing the frightening commotion downstairs, Plaintiff Paulet Minzie
                                                                                   got out     of

 the shower, threw on a work shirt, wrapped a towel arotmd her wais! and came down
                                                                                   from her

 third floor apartment to investigate-

 28.     When she arrived outside Ramarley's apartmen! Defendant officers screamed at Ms-

 Minzie, causing her great alarm-



                                                    4
29.       When Ms. Minzie asked the officers to tell her what was happening, they responded by

by raising their guns at her and rushing toward her.

30.       Ms. Minzie immediately retreated up the stairs toward her apartment trailed by the

Defendant officers.

31.       As Ms. Minzie reached the threshold of her apartment and officers closed in, she

voluntarily put her hands up, terrified that she was about to be shot-

32.       One of the Defendant officers responded by putting a gun to her head'

33.       The commotion caused Ms. Minzie's towel to fatl to the ground, leaving the lower half    of

her body completely exposed; trembling and terrified, she lost control of her bladder-

          As Ms. Minzie continued to stand there, humiliated and terrifred, another officer
                                                                                            entered
 34.
and searched her apartment without permission or authority.

                                                                                    the presence
35.       The iltegal search went on for two to three minutes before Ms. Minzie had

                                                                        were capfuring the entire
of mind to arurounce that she was the landlord and surveillance cameras

 event.

                                                                                  head
 36.       Upon hearing this, the officer who was holding the gun to Ms' Minzie's

                                                                 and he alerted his colleague
 immediately lowered his weapon, his demeanor completely changed

 that they may be on camera The officer then demanded to
                                                         know where the surveillance cameras

 were, and other officers ft¡iously set about the task of locating them'

                                                                               Ramarley Graham
  37.      The warrantless invasion which resulted in the senseless killing of

 continued for approximately 24 hours before a wa¡rant was produced'

 3g-       plaintiffEric Dixon   has since been arrested on questionable charges, and subject to


 excessive force; the Bronx County Rackets Bureau is currently investigating'



                                                     5
39.      Defendant Richard Haste, who upon information and belief, had no training in street

narcotics enforcement or plainclothes work on the date of the incident, has since been indicted

and is awaiting trial on charges of felony manslaughter-

40.      The trauma of the warrantless invasion and the senseless killing of Ramarley Graham

continue to haunt the Plaintiffs to this day.


                                                   STATE CLAIMS

4I.      Notice of the Ptaintiff s claim, the nature of the claim and the date   ol   the time wherU the place


where and the manner in which the claim arose was timely served upon the Comptroller of the           Cþ of

NewYork.


42.      Plaintiffs were produced for a hearing pursuant to Section 50h of the General Municipal [,aw on

Jtme28,2012.


43.      More than 30 days have elapsed since the Notice of Ctaim was served upon the Defendant           Cþ of

New York and said Defendant has neglected to initiate any settlements thereof.


44       This action is being commenced within One Year and Ninety-Days of the date the cause of action

arose.


                                AND                                                   o
                                        AG                      D

                    vio tatio        f c o,ns titu tio n:i                            tate Law
                                no
                                                                    y"::ï ïffi::
                                                             åti::'
45        Ptaintiffs incorporate by reference and reallege each and every allegation stated in

 Paragraphs 1 through 44.




                                                               6
                                                                          citizens from
46.       The Fourth Amendment of the United States Constitution protects

                                                            Specifrcally, the Fourth
unreasonable searches and seizures by government officials.

                                                                searching someone's home in
Amendment precludes police officers from entering and otherwise

the absence of appropriate process-e.g., a warrant-or special
                                                              circumstances'

                                                                          especially the search of the
47   -    Defendant officers' entry into the homes of the PLaintiffs, and

apartment occupied by paulet Minzie, in the absence of a
                                                         warrant or other exigent circumstances,

                                                                   rights under the Fourth
was clearly improper and represents a violation of the Plaintiffs'

Amsndment of the United States Constitution'
                                                                              of 42 U'S'C' $ 1983,
 4g.       This conduct on the part of Defendants also represents a violation

                                                             law.
given that said actions were undertaken under color of state

 49.       Defendants' actions were motivated by bad faith and malice-

                                                                         described above, the
 50.       As a direct and proximate result of the unconstitutional acts

 Plaintiffs have been substantially injured-



                                                                                      N
                                                  FO
                                                         D

                                                   -Trespass-

                                                                      every allegation st¿ted in
  51.       Plaintiffs incorporate by reference and reallege each and

  Paragraphs 1 through 50.

                                                          #1         -   10, without the consent or authority
     52.    Defendant offrcers Haste, Sgt. Monis, and Doe
                                                                                              by forcing their
     and against the   wilt of the plaintiffs, intentionally entered the Plaintiffs' property

     way into the home at gun Point-



                                                          7
53.    The forceful entry occurred after Defendants attempted to kick the front door of the

premises down without success.

54-    As   a   direct and proximate result of the Defendant's conduct as described above, the

Plaintiffs have been subst¿ntially injured-

55.    The amount of damages sought exceeds the jurisdiction of all lower courts which would

otherwise have j urisdiction.




                            AS AIID F'OR THE        CAUSE OF                CTTON
                                  ON        F'OF THE
                                                  ALL DEFENDANTS

                       violation of constitutional Rights under color of state Law
                               -Conspiracy to Viotate Ptaintiffs' Civil Rights-

 56-    Ptaintifß incorporate by reference and reallege each and every allegation stated in

Paragraphs 1 through 55.

 57.    Defendant Of¡rcers Haste, Sergeant Morris, and Doe #1          -   10, acting under color of state


law in both their individual capacities and as agents for the City of New York, conspired

together, reached a mutual r¡nderstanding, and acted in concert to undertake a course of conduct

violative of plaintiff s civil rights by agreeing to intentionally conduct a warrantless entry and

 search of the Plaintiffs' home.

 58.    This conduct on the part of Defendants also represents a violation of 42 U.S-C. $ 1983'

 given that said actions were undertaken urder color of state law.

 59.     Defendants' actions were motivated by bad faith, malice, and./or willful indifference.

 60.     As     a   direct and proximate result of the unconstitutional acts described above, the

 Plaintiffs have been substantially injured-

                                                        8
                            AS AND FOR THE FO       CAUSE OF CTTON
                                  ON BETTALF OF THE PLAINTTFFS
                                    AGAINST ALL DEFENDANTS

                       violation of constitutional Rights under color of state Law
                                           -Failure to lntercede-

61.     ptaintiffs incorporate by reference and reallege each and every allegation stated in Paragraphs I

through 60.

                                                                        citizens from unreasonable
62.     The Fourth Amendment of the united States constitution protects

                                                            law enforcement offrcers from entering
searches and seizures by govemment officials, and prohibits

private residences without the appropriate authorization'

                                                                   the Plaintifß' rights under the united
 63-     The actions of Defendant officers detailed above violated
                                                                                          affrmative duty to
states constitution.   It is widely recognized that all law enforcement officials have an

intervene to protect the constitutional rights of citizens
                                                           from infringement by other law enforcement

officers in their Presence-

         Defendants, actions were motivated by bad faith and
                                                             malice' and/or deliberate indifference to the
 64-
 righs of ttre Plaintifß-
                                                                 a viotation of 42 u's'c' $ 1983, given that
  65.     This conduct on the part of Defendants also represents

                                                   law'
 said actions were undertaken under color of state

                                                                   acts described above, the Plaintiffs have
  66.     As a direct and proximate result of the unconstitutional

 been substantiallY injured.




                                                          9
                      AS AND F'OR THE       CAUSE OF CTTON
                           ON BEHALF OF THE PLATNTIFFS
                                      ALL DEF    ANTS

                                            -Assault-

67.    Plaintiffs incorporate by reference and reallege each and every allegation stated in

Paragraphs 1 through 66.

68.    On February2,Z}l2,Defendant Officer Haste and as ye! unidentified officer(s) pointed

loaded gun$) at Plaintiffs Jyevion Dixon, Eric Dixon, and Paulet Minzie.

69-    Defendants intended to cause and did cause plaintifß to suffer apprehension of an

imminent harrnful contact.

70.    As a direct and proximate result of said acts, Plaintifß have been substantially injured.

7l     The amount of damages sought exceeds the jurisdiction of all lower courts which would

otherwise have j urisdiction.



                       ÄS AND FOR THE SIXTH CAUSE OF ACTION
                              ON BEHALF OF PLAINTIFFS
                             AGAINST ALL DF"FENDANTS

                           -Intentional Infliction of Emotional Distress-

72-     plaintiffs incorporate by reference and reallege each and every allegation stated in

 Paragraphs 1 through 71.

 73.    At all times mentioned herein, Defendants' conduct was intentional, extreme and

 outrageous.

 74.    As a direct and proximate result of the unconstitutional acts described, the Plaintifß have

 suffered severe emotional distress-



                                                 10
75.    The amount of damages sought exceeds the jurisdiction of all lower courts which would

otherwise have j urisdiction.


                      AS AND F'OR THE SEVENTH CA TISE, OF'ACTION
                               ON BEHALF OF PLAINTIFFS
                                    AGAINST ALL DEFENDANTS

                               -Negligent lnfliction of Emotional Distress-

76.     Ptaintifß incorporate by reference and reallege each and every allegation stated in

Paragraphs 1 through 75.

77.     As a direct and proximate result of the Defendants' outrageous departure from accepted

st¿ndards of ca¡e   Plaintifß were caused to suffer severe emotional distress.

78.     The amount of damages sought exceeds the jurisdiction of all lower courts which would

otherwise have j urisdiction.




                      AS AND FOR THE EIGHTH CAUSE OF ACTTON
                              ON BEHALF OF PLAINTTFFS
                     AGAINST THE DEF'ENDANT CITY OF NEW YORK

                          -Negligent Hiring, Retention, and Supervision-

79.     Plaintiffs incorporate by reference and reallege each and every allegation st¿ted in

Paragraphs   I through   78.

80.     At all times relevan! Defendant City of New York       was negligent, careless, and reckless


in hiring, retaining, supervising, and promoting as and for its employees, "the offtcers" herein, in

that said offi.cers, as employees of the City of New York, were not qualified to be hired or

retained or promoted as police officers, lacked the experience, deportment, skill, training, and




                                                     11
ability to be employed by the Defendant City of New York; to be retained by the Defendant City

of New York; and to be utilized in the manner that each was employed on the day in question-

g1.     At all times relevan! Defendant City of New York failed to exercise    due care and caution


in its hiring, retaining, and/or promoting practices; in that the Defendant City of New York failed

to adequately investigate said police officers' backgrounds; adequately screen and test the

Defendant police officers; failed to adequately monitor the Defendant police officers; failed to

properly discipline officers who violate Patrol Guidelines; failed to properly train and retrain the

Defendant police offi.cers; and the Defendant City of New York, its' agents, servants, and/or

employees, were otherwise cateless, negligent, and reckless'

82-     The aforesaid occt¡rence, to wit: forcible entry into the Plaintiffs' home(s) without a

warrant, probable camse, or exigent circumstances; displaying and pointing loaded weapons;

firing a loaded weapon; threatening Plaintiffs with the discharge of the fi.rearm(s); engaging in

conspiracy to carry out their actions and the resulting iqiuries to the Plaintiffs, were caused

wholly and solely by reason of the negligence or deliberate indifference of the Defendant Cþ of

New York, its agents, servants, and./or employees without any negligence on the part of the

 Plaintiffs contributing thereto.

 g3-     That by reason of the aforesaid, Plaintiffs have been substantially damaged, and said

 damages exceed the jurisdictional limits of   all lower courts which would otherwise have

 jurisdiction.




                                                   12
                        AS AND FOR THE       CAUSE OF      ON
                               ON BEHALF OF PLAINTIFFS
                      AGAINS T THE DEFEND     CTTY OF NEW YORK

  - lmplementation of Municipal Policies, Practices, and Customs that Directly Violate
 Constitutional Rights, Failure to Imptement Municipal Policies to Avoid Constitutional
 Deprivations and Failure to Train and Supervise Employees Under Color of State Law-

84.     ptaintifß incorporate by reference and reallege each and every allegation stated in

Paragraphs     I through 83.

g5.      Upon information and betief, Defendant Supervising Off,rcer Sergeant Scott Morris
                                                                                           was

                                                                               Doe #1 - 10'
directly responsible for supervising Defendant Officers Richard Haste and John

g6.      Upon information and belief, Defendant      cþ     of New York and Sergeant Morris who

were supervisors and final decision makers, as a matter of policy,
                                                                   practice, and custom' have


acted   with   a callous, reckless and deliberate indifference to the   Plaintifß' constitutional rights

and laws of the United States, in that they failed to adequately
                                                                 discipline, train, supervise or


otherwise direct police officers concerning the rights of citizens,
                                                                    including not making

                                                                 circumstances' and pointing
warrantless entries and searches of people's home absent exigent

loaded firearms at innocent bystanders'

 g7.                                                                         Defendants violated
          The policies, procedures, customs and practices of the above-named

 the Constitutional rights of the Plaintifß under the Fourth
                                                             Amendment of the United States


 Constitution
                                                                      Sergeant Morris also
 88.      This conduct on the part of Defendants City of New York and

                                                                    were undertaken under color            of
 represents a violation of 42 U.S.C ç 1983, given that said actions

 state law.

                                                                                  above, the
 89.      As a direct and proximate result of the unconstitutional acts described

 Plaintiffs have been substantially injured'
                                                       13
                                  DEMAND FOR                     BY JURY

90.     The Plaintiffs hereby demands atrial by jury-


                                        PRAYER              R RELTEF

        WHEREFORE, the Ptaintiffs PAULET MINZIE, EzuC DD(ON, and IYEVION DD(ON request

that this Honorable Court grant her the following relief:

        A.   A judgment in favor of Plaintiffs against Defendant for compensatory damages in an amount

             to be determined by a properly charged       jurg

        B.   A monetary award for attorneys fees and costs of this action, pursuant to 42 U-S-C- $ 1988;

        C.   Any other relief this Court finds to   be   just          equitab




Dated: New Yorh New York
         April8,2013




                                                           Office of Jeffrey Chabrowe, P-C-
                                                     261 Madison Avenue, 12 Floor
                                                     New Yorh New York 10016
                                                     T: (917) s29-392r
                                                     E: j chabrowe@gmail. com




                                                            t4
         REQUEST FOR  JUDICIAL INTERVENTION
                   'ücs¡40                           (7/2012)


Supreme                        _couRT,               COUNTY OF Bronx

lndex    No:             21249120138                      Date lndex   lssued:      041912013



                                                                                                                                 \
Paulet Minzie, Eric Dixon, and Jyevion Dixon, An lnfant by Parent and Guardian Eric Dixon,
                                                                                                                            JD       r, -Ot\ipl
                                                                                                                     -f L k              n't ,4 ,rtL-

                                                                                                                      -ç L.{,1 y           ,'i      ó+-L-,..-


The City of N EW York, P o Richa rd Haste (NYPD) Shiel d #2081 5, Sergeant Scott M orns (NYPD) Shield #9 5 3, and                        N YPD      Offìcers John Doe #     0
    N ame Joh n Doe Being F ict iotious, AS the True N a me(s) is/are Preseent ly U nknown)




     Contested                                                                        Business Entity (including coçorations, partnerships, LLCs, eto')

      NOTE: For all Matrimonial actions where the parties have children under      Q Contract
      the age of 18, complete and attach the MATRIMONIAL RJI Addendum'             Q lnsur"n". (where insurer is â party, except arbitration)
      For Uncontested Matrimonial actions, use RJI form UD-13'                     O UCC (including sales, negotiable instruments)
                                                                                   o Other Commercial:
     Asbestos
                                                                                        NOTE: For Commercial Division assignment requests [22 NYCRR S
 Q Breast lmplant                                                                       2O2.7O(d)|, comPlete and attach the COMMERCIAL DIV RJI Addendum
 Q Environmenbl,                                     ,     ,,
                                                     ("Pt"¡fY)
                                                                ,

                                 -
                                                                                       Condemnation
 O V"¿¡crt, Dental, or Podiatric Malpractice                                                                                                               O
 O MotorVehicle                                                                    Q Uoag"g"       Foreclosure     lspec,irv¡:       Q   Residential           Commercial
                                                                                                                                                         Alabama
                                                                                   Property Address:
 Q Produas                                           (spæ'fy)                                             Stræt   Addre$                      CitY                 Sta¡e    ZÞ

                                                                                        NOTE: For Mortgage Foreclosure actions involving a one'to four-family,
 O    ott'"..
                                                     (spæify)                           owner-occupied, residential property, or an owner-occupied
                                                                                        condominium, complete and attach the FORECLOSURE RJt Addendum'
 O Ott"t        Professionat
                                                                                                                                                            Lot:
                                                      (sPæifY)
                                                                                   Q fax Certiorari - Section: --                    Block:

 @    ott.t                    Entry and Related Claims                            o Tax Foreclosure
                                                      (spæify)                     o Other Real                                           (speov)

                                                                                                                                              -                    -
      Gertificate of lncorporat¡on/Dissolution [see NOTE under Commerciall
                                                                                        CPLR Artide 75 (Arbitration) [see NOTE under Commercial]
 Q    E*"rg"nry Medical Treatment
 O Habeas corpus                                                                    O cPLn Ad¡"le 78 (Body or officer)
 O Ucal CourtApPeal                                                                 Q Election Law
 O MechaniCs Lien                                                                   Q vul Article 9-60 (Kendra's Law)
 O ¡¡"*" Change                                                                     Q rrlut- Article 10 (Sex offender confinement-ln¡tial)
 Q eistot Permit Revocation Hearing                                                 Q HrtHt- Article 10 (Sex offender Confìnement-Review)
 O S"t" or Finance of Religious/Not-for-Profit        Property                      Q vHt- Article 81 (GuardianshiP)
  o   Other.
                                                      (specrfy)
                                                                                    Q Other Mental                                      (sp€cify)

                                                                                    Q   otner Special


                                                                             YES
 Has a summons and complaint or summons w/notice been filed?                   o                               April 9, 2013
                                                                                             lf yes, date fìled:

 Has a summons and complaint or summons w/notice been served?                o o             lf yes, date served Apri 111,2013

 ls this action/proceeding being filed post-judgment?                        o o             lf yes, judgment date:
                                    -'
       lnfánfs Comþiomise
       Note of lssue and/or Certificate of Readiness
   Q   ruotce of Medical, Dental, or Podiatric Malpractice Date lssue Joined:
                                                                                   Alternate Serv¡ce
   Q   Notice of Motion                                        Relief Sought:                                                                     Return Date:
   O   ruot¡" of Petition                                      Relief Sought: Alternale Serv¡ce                                                   Return Date:
                                                                                   Altem¿te Serv¡ce
   Q   orderto Show Cause                                      Relief Sought:                                                                     Retum Date:
   Q   Otn"r Ex Parte Application                              Relief Sought: Allern¿te Serv¡ce
   Q   eoor. Person Application
   @   Request for Preliminary Conference
   Q Residential Mortgage Foreclosure Settlement Conference
   Q writ of Habeas corpus
   Q otner

                                                 lndexlOase     No.           :
                                                                                    Goqrf                               Judqe       Gf   assisnéd)i{ffï
Estate of Ramarley Graham. et                    300731/201 3                       Bronx Supreme Court                                                                lnjuries derived from same incident/actors
al., v. Citv of New York, et al.




                                         Ì.\rii?.. 1i
                                         Stlit;:.      .       Attorneys and/or Unrepresented Litigants:
                                                               Provide attorney name, firm name, business address, phone number and e-mail
                                                               address of all attorneys that have appeared in the case. For unrepresented
                                                               titigants, provide address, phone number and e-mail address.
       Minzie                                                  {offman                                                            Andrew     L.
                           lâst   Name                                                   Last Name                                                   F¡rst Name
                                                                                                                                                                                          Qves
       Paulet                                                  -aw Office of Jeffrey Chabrowe,          PC
                          Flat Name                                                                              F¡m Name
                         Primry Role:                          2ó1 Mad¡son Ave . 12th FL                          New York                        ¡rew   vorrfpl       r   oor o
        Plaintiff                                                           Stræ( Áddress                                  City                          State                 Zlp
                    S@ndary       Role (lf any):
                                                               21273ó3935                        489247580ó                          ahoff man@¿ndrewhoffmanlaw.com                       O*u
        Plaintiff                                                         Phone                                Fax                                        e{ail
       Dixon                                                   Hoffman                                                            Andrew     L.
                           Le3t Narc                                                     L¡st Neñe                                                   F¡6t Nare
       tric                                                    Law Offìce ofJeffrey Chabrowe, PC
                                                                                                                                                                                          þves
 tr     Plaintiff
                          Flat Name
                         Prlmry Role:                          2ó1 Mad¡son Ave.,12th FL
                                                                            Street Áddress
                                                                                                                 F¡m Name
                                                                                                                     New York
                                                                                                                           City
                                                                                                                                                  uewvort[Sltoots
                                                                                                                                                         State                     ZiÞ
                    S€ændary Role        (¡f   anyl:           2121363935                        480247580ó                          ahoffman@¿ndrewhoffmanlaw.com                        O*o
        Plaintiff                                                           Phonê                               Fax                                       e{ail
       Dixon                                                   Hoffman                                                            Andrew     L.
                           LÁ6lNare                                                      Last Name                                                   Fl6t Nare
                                                               Law Omce of JefíÍey Chabrowe. PC
                                                                                                                                                                                          Qves
       Jyevion

  n     Plaintiff
                           Fl61 Name
                         Prlmry     Role:
                                                               2ó1 Madison Ave., 1 2th FL
                                                                            Stræt Add¡ess
                                                                                                                 Firm Name
                                                                                                                      NewYork
                                                                                                                           C¡ty
                                                                                                                                                  ttewvo*@ toole
                                                                                                                                                      State      z,lp
                     Secondary Role (H any):
                                                               21273ó3935                         480247580ó                         ahoffman@andrewhoffmanlaw.com
                                                                                                                                                                                          O*o
        Plaintiff                                                           Phone                               Fax                                        e{all
        Ciig of New York                                       Cardozo                                                             Michael
                           Last Name                                                      t¡st   Nâme                                                    Flct   Name

                                                               New York City Law Department
                                                                                                                                                                                          Qves
                           F¡rst Name                                                                            F¡m Name
                          Prlrory    Ro¡e:
                                                               100 Church Street                                      New York                    ttewvort@                toooz
        Defendant
                     Secondary Role (ifany):
                                                           E                Stræt Address                                   CitY                          Sfãte                    zip
                                                                                                                                                                                          O*o
                                                               2123561000                         21235ó1 1{8
        Plaintiff                                                           Phone                               Fax                                        ê{e¡l
I AFF¡RM UNDER THE PENALTY OF PERJURY THAT, TO MY KNOWLEDGE, OTHER THAN AS NOTED ABOVE, THERE ARE AND HAVE
BEEN NO RELATEO ACTIONS OR PROCEEDINGS, NOR HAS A REQUEST FOR JUDICIAL INTERVENTION PREVIOUSLY BEEN FILED IN
THIS ACTION OR PROCEEDING.


                    Dated:                     4-tz-                LÒ/9
                       1ø z-í-ça                                                                                                     A^¿*'¿ L-                                       c)
                     ATTORN EY REGISTRATION                         NU M    BER                                                                          PR¡NT OR TYPE NAME
                                RJI ADDENDUM

5   Defendant Richard Haste
    Representation: Michael Cardozo
                    C/O NYC Law DePartment
                    100 Church Street
                    New York, NY 10007
                    P: Ql2) 356-1000
                     F: QrZ)356-1148

    Issue not yetjoined.

6   Defendant Scott Moms
    Representation: Michael Cardozo
                    C/O NYC Law DePartment
                     100 Church Street
                    New York, NY 10007
                     P: (212)3s6-1000
                     F: Qr2)356-1148
    Issue not yet joined-

7   Defendant John Doe #1-10
    Representation: Michael Cardozo
                    C/O NYC Law DePartment
                    100 Church Street
                    New Yorh NY 10007
                    P: (2\2) 356-1000
                    F: (2rz) 356-1148
     Issue not yetjoined.
SUPREME COI.]RT OF THE STATE OF NEW YORK
COUNTY OF BRONX
                                                           X
PAULET MINZIE, ERIC DXON, and IYEVION
DIXON, AND INFANT BY PARENT AND                                   REQTJEST FOR
GUARDIAN ERIC DXON,                                               PR.ELIMINARY
                                                                  CONFERENCE
                              Plaintiffs,
                                                                  lndex No.: 21249120138
                  -againsr

TIIE CITY OF NEW YORK, P.O.RICHARD FIASTE



PRESENTLY UNKNO\ryID,
                              Defendants.
                                                           X


       Plaintiff, by her attorney(s) , the Law Office of Jeffrey Chabrowe, P.C., TIEREBY

REQUESTS that a pRELIMINARY CONFERENCE be convened, pursuant to the dictates
                                                                             of the

Uniform Rules forNew York State Trial Courts, Section 202-12


                                                          G IN TIIE          oN*

ANDREW L. HOFFMAN, ESQ.,
OF COUNSEL, THE LAW OFFICE OF JEFFREY CHABROWE
ATTORNEY(S) FOR TTIE PLAINTIFF
C/O THE LAW OFFICE OF JEFFREY CFIABROWE
261 MADISON AVENUE, 12th FL
NEW YORK NY 10016
Qr2)736-3e3s

C.C.MICHAEL CARDOZO
Attomey(s) for Defendants
1OO CHURCH STREET
NEW YORK, NY 1OOO7


                                               o         ACTT

        The above stated action a¡ises in tort, and more specifically, injuries related to wrongful
                                                                                                    and

forcible entry.
Dated:       New Yorþ New York
              npnl,tl1zotl
                                 Yours, etc.
                                       /a -.f'
                                                 ,/
                                 ANDREW L.
                                 OF COUNSEL, LAW OFFICE OF
                                 JEFFREY CHABROWE
                                 Attorney(s) for the Plaintitr
                                 261 MADISON AVENUE, 12th FL
                                 NEW YORK NY 10016
                                 (2r2)736-393s


TO:
C.C.MICHAEL CARDOZO
Attorney(s) for Defendants
1OO CHURCH STREET
NEW YORK NY 10007
SUPREME COURT OF THE STATE OF NEW YORK
COI-INTY OF BRONX

PAULET MINZIE, ERIC DIXON, ANd JYEVION DIXON, AN
INFANT BY PARENT AND GUARDIAN ERIC DIXON,                          Index No.21249/l3E
                                                                   Law Dep't No. 2012-017988
                                             Plaintiff,

       - against -                                                 AFFIDAVIT OF
                                                                   RICHARD HASTE
THE CITY OF NEW YORK, P.O. zuCHARD HASTE
(NYPD)SHIELD #20875, SERGEANT SCOTT MORzuS
(NYPD)SHIELD #953, AND NYPD OFFICERS JOHN DOE
#1-10
                               Defendants.
                                                               x

               Richard Haste, being duly sworn, deposes and    says:



                L      I am employed by   the New York City Police Department      ("NYPD')   as a


Police Officer, and my NYPD shield number is 20875'

                Z.     I   hereby consent to the removal of this case from the Supreme Court of

                                                                               of New York.
New york, Brorx County, to the United States District Court, Southern District

                3.     I   understand that my consent to this removal has no bearing whatsoever

                                                                       request for legal
upon the New york City Law Department's ultimate decision regarding my

representation in this matter.

                4.     By consenting to this Notice of Removal,        I   do not waive any defense

 which may be available to me, specifically including, but not limited to, my right
                                                                                    to contest in

 personam jurisdiction, improper service of process, and the absence of venue
                                                                              in this Court or the


 Court from which this action has been removed'

 Dated:         APril 30,2013


                                                                       Haste
Sworn         this
-?oday or   2013.


Notary
\
SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF BRONX
                                                                 x
PAULET MINZIE, EzuC DIXON, and JYEVION DIXON, AN
INFANT BY PARENT AND GUARDIAN ERIC DIXON,                            Index No.2l249l13B
                                                                     Law Dep't No. 2012-017988
                                              Plaintiff,

        - against -                                                  AFFIDAVIT OF
                                                                     SCOTT MORRIS
THE CITY OF NEV/ YORK, P.O. zuCHARD FIASTE
(NYPD)SHIELD #20875, SERGEANT SCOTT MORzuS
(NYPD)SHIELD #953, AND NYPD OFFTCERS JOHN DOE
#1-10
                                           Defendants.
                                                                 X

                Scott Morris, being duly sworn, deposes and says:


                1.     I am employed by the New York City Police Department ("NYPD")       as a


Police Offrcer, and my NYPD shield number is 953.

                2.     I   hereby consent to the removal of this case from the Supreme Court of

New York, Bronx County, to the United States District Court, Southern District of New York.

                3.     I   understand that my consent to this removal has no bearing whatsoever

upon the New York City Law Department's ultimate decision regarding my request for legal

representation in this matter.

                4.     By consenting to this Notice of Removal, I do not waive any       defense

which may be available to me, specifically including, but not limited to, my right to contest in

personam jurisdiction, improper service of process, and the absence of venue in this Court or the

                                        removed.                                \
Court from which this action has been

Dated:          April30,   2013                             n
                                                            \l
            to before me this
            of        20r3


   Notary
             '.)H
 Uolery Public, State of NewYorlt
        No.02WE6059420
  Oualified ln NewYork County
Gommlssion            Jan.   m16
